Case 1:17-mc-00151-LPS Document 943 Filed 02/08/24 Page 1 of 1 PageID #: 27057
                                                            Andrew S. Dupre           McCarter & English, LLP
                                                            Partner                   Renaissance Centre
                                                            T. 302-984-6328           405 N. King Street, 8th Floor
                                                            F. 302-984-6399           Wilmington, DE 19801-3717
                                                            adupre@mccarter.com       www.mccarter.com




February 8, 2024

VIA CM/ECF

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 26, Room 6124
Wilmington, DE 19801-3555

           Re: Crystallex International Corp. v Bolivarian Republic of Venezuela,
               Misc. No. 17-151-LPS
Dear Judge Stark:

        Plaintiffs and Additional Judgment Creditors Tidewater Investment SRL and Tidewater
Caribe, S.A. (“Tidewater”) and Valores Mundiales, S.L. and Consorcio Andino, S.L. (“Valores”)
submit this statement in response to the Special Master’s motion of February 5, 2024 requesting
amendment of certain priority arrangement procedures (D.I. 928). Tidewater and Valores
respectfully ask the Court to adopt the Special Master’s alternative proposed approach according
to which all Additional Judgment Creditors deliver the Required Materials to the U.S. Marshal on
the same day, in the final Priority Order.1 D.I. 928, ¶ 12.

Respectfully submitted,

/s/ Andrew S. Dupre

Andrew S. Dupre (#4621

cc: Counsel of Record (via CM/ECF & Electronic Mail)




1 Undefined terms have the meaning given to them in the Special Master’s Motion (D.I. 928).




ME1 47598611v.1
